Case; 1:05-cr-01849-JCH Document 1065 ~—— Filed 09/24/07

UNITED STATES COURT OF APPEALS
FOR THE TENTH CIRCUIT

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Elisabeth A. Shumaker
Clerk of Court September 19, 2007

Matthew: Dykman

United States District Court for the District of New Mexico
Office of the Clerk

333 Lomas N.W.

Albuquerque, NM 87102

RE: 06-2264, United States v. Jarvis
Dist/Ag docket: [CR-05-1849-JH]

Dear Clerk:

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Douglas E. Cressler
Chief Deputy Clerk

Enclosed are a certified copy of the judgment and a copy of the opinion filed in this case
which are issued as the mandate of this court. See Fed. R. App. P. 41(a). Please file it in

records of your court or agency.

Please contact this office if you have questions.

Sincerely,

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Elisabeth A. Shumaker
Clerk of the Court

Enclosure(s)

ce: James R.W. Braun
Stephen R. Kotz
Jody Neal-Post

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FILED
United States Court of Appeals

Tenth Circuit

PUBLISH. August 28, 2007

UNITED STATES COURT OF APPEALS = piicaheth A. Shumaker

Clerk of Court
TENTH CIRCUIT

UNITED STATES OF AMERICA,
Plaintiff-Appellee,

No. 06-2264

Vv.

DANA JARVIS,

Defendant-Appellant.

APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
(D.C, No. CR-05-1849-JH)

Jody Neal-Post, Albuquerque, New Mexico, for Defendant-Appellant.

Stephen R. Kotz, Assistant United States Attorney (Larry Gomez, Acting United
States Attorney, James R.W. Braun, Assistant United States Attorney, with him
on the brief), Albuquerque, New Mexico, for Plaintiff-Appellee.

Before BRISCOE, HOLLOWAY, and MURPRY, Circuit Judges.

MURPHY, Circuit Judge.

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I. INTRODUCTION

This is an interlocutory appeal from a district court order denying the
motion of Defendant-Appellant Dana Jarvis to release funds. At issue is the
propriety of two notices of lis pendens filed under New Mexico state law by the
United States on substitute property potentially subject to criminal forfeiture
under 21 U.S.C. § 853.

This court has jurisdiction pursuant to the collateral order doctrine. United
States v. Musson, 802 F.2d 384, 385 (10th Cir. 1986). Applying an exception to
the usual rule that issues not presented below are forfeited on appeal, this court
concludes the use by the United States of the New Mexico lis pendens statute was
improper. The order of the district court denying Jarvis’ motion to release funds
is, therefore, reversed and this case remanded to the district court with
instructions to order the lis pendens notices removed.

Il. BACKGROUND

Jarvis, along with twenty other defendants, was charged in initial and
superceding multi-count indictments with conspiracy to distribute 1000 kilograms
or more of marijuana, in violation of 21 U.S.C. § 846; conspiracy to launder
money and knowing conduct of a financial transaction involving proceeds of

unlawful activity, in violation of 18 U.S.C. § 1956; and engaging in a continuing

criminal enterprise, in violation of 21 U.S.C. § 848 and 18 U.S.C. § 2.

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The initial indictment contained a criminal forfeiture allegation stating that,
upon conviction for one or more of the substantive offenses, all defendants would
be jointly and severally liable for a money judgment of just over $49 million in
proceeds allegedly derived from or involved in the indicted offenses. The
forfeitures were to be carried out pursuant to 21 U.S.C. § 853 and 18 U.S.C.

§ 982. The superseding indictment contained the same criminal offense charges
as the initial indictment, but named a different combination of defendants and
broadened the alleged time frame of the conspiracy and continuing criminal
enterprise by twelve years. Asa result, the superceding indictment increased the
demand for money judgment from $49 million to $158.4 million.

Bank accounts, several parcels of real property, conveyances of personal
property, and a liquor license were listed in the initial and superceding
indictments as “forfeitable property” connected to the defendants’ criminal

conduct.' The superceding indictment added seized United States currency as

‘Under the criminal forfeiture statute, property subject to mandatory
forfeiture upon conviction includes:

(1) any property constituting, or derived from, any proceeds the

person obtained, directly or indirectly, as the result of [a drug-related

criminal] violation;

(2) any of the person’s property used, or intended to be used, in any

manner or part to commit or to facilitate the commission of, such

violation; and

(3) in the case of a person convicted of engaging in a continuing

criminal enterprise in violation of section 848 of this title, the person

shall forfeit, in addition to any property described in paragraph (1) or

(2), any of his interest in, claims against, and property or contractual

(continued...)

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forfeitable property. Both the original and superceding indictments listed two
pieces of real property titled to Jarvis among the substitute assets to be forfeited
pursuant to 21 U.S.C. § 853(p) in the event other property directly connected to
the alleged criminal activity was unavailable for forfeiture.” These two parcels
are collectively known as the “Mora properties,” located in Mora County, New
Mexico.

The United States recorded notices of lis pendens on the Mora properties
with the Mora County clerk, see N.M. Stat. Ann. § 38-1-14, and filed the notices
with the district court. The notices include the language, “The property located in
Mora County, New Mexico, was criminally indicted in this case and the United
States is seeking the forfeiture of all that lot or parcel of land, together with its

buildings, appurtenances, improvements, fixtures, attachments, and easements

'(...continued)
rights affording a source of control over, the continuing criminal
enterprise.

21 U.S.C. § 853(a)(1)-(3).

"Substitute assets are defined in § 853(p). Section 853(p)(2) requires the
court to order forfeiture of substitute property up to the value of the forfeitable
property described in § 853(a) when such forfeitable property:

(A) cannot be located upon the exercise of due diligence;

(B) has been transferred or sold to, or deposited with, a third party;

(C) has been placed beyond the jurisdiction of the court;

(D) has been substantially diminished in value; or

(E) has been commingled with other property which cannot be divided

without difficulty.

21 U.S.C. § 853(p)(1)(A)-(E).

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thereon.” The United States did not attempt to use the criminal forfeiture statute
to seek a federal protective order on the Mora properties.”

Claiming the United States’ lis pendens notices on the Mora properties
prevented him from liquidating these properties to pay for retained defense
counsel, Jarvis moved the district court to release his property. Jarvis explained
to the court that he had no other assets with which to retain counsel. He argued
the Mora properties, which were purchased well before the initiation of the
criminal activity charged in the indictment, were “substitute assets” within the
meaning of § 853(p). Looking to the federal protective order provision of the
criminal forfeiture statute, § 853(e), as well as most federal courts of appeals’
interpretations of that statute, Jarvis contended there was no legal basis for the
restraint of substitute assets without a conviction and forfeiture order. Because
the United States’ restraint of the Mora properties prevented him from hiring the
counsel of his choice and deprived him of his Sixth Amendment right, Jarvis
argued, a due process hearing was required before the United States could

effectively freeze his assets.

‘Section 853(e) allows the United States to seek a restraining order or
injunction “to preserve the availability of property described in subsection (a) of
f§ 853(a)] ... upon the filing of an indictment or information charging a violation
... for which criminal forfeiture may be ordered . . . and alleging that the
property with respect to which the order is sought would, in the event of
conviction, be subject to forfeiture.” 21 U.S.C. § 853(e})(1)(A). Section 853(e)
does not, however, explicitly provide for pre-trial restraint of § 853(p) substitute

property.
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The United States responded to Jarvis’ motion by contending that a lis
pendens is not a legal restraint, but merely functions as constructive notice to
prospective purchasers. Even if a lis pendens were a restraint, however, the
United States argued that substitute assets such as the Mora properties may be
restrained consistent with the statutory scheme provided for in § 853, especially
in light of the guidance in § 853(o) that the criminal forfeiture statute be liberally
construed to effect its objectives.

Drawing heavily on the United States’ arguments, the district court denied
Jarvis’ motion, concluding the filing of a lis pendens does not constitute a
restraint of property within the meaning of 21 U.S.C. § 853. Based on the
reasoning in United States v. Register, 182 F.3d 820, 836-37 (11th Cir. 1999),
and Aronson v. City of Akron, 116 F.3d 806, 811-12 (6th Cir. 1997), and
borrowing language from United States v. James Daniel Good Real Property, 510
U.S. 43, 54 (1993), the court determined that a /is pendens did not interfere with
any legal incidents of property ownership such as “the right of sale, the right of
occupancy, the right to unrestricted use and enjoyment, and the right to receive
rents” and, therefore, did not constitute a property deprivation triggering due
process concerns. The court also rejected Jarvis’ argument that the nature of the
properties as substitute assets, rather than forfeitable assets, should affect the

court’s analysis.

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Jarvis moved the court to reconsider, again attempting to draw a distinction
between forfeitable property under § 853(a) and substitute property under
§ 853(p). He argued that New Mexico law classifies a lis pendens as a restraint
and that a restraint cannot apply to substitute property until (1) a court has issued
an order:of forfeiture and (2) the government is unable to satisfy the order with
forfeitable § 853(a) property. He contended the /is pendens notices on the Mora
properties were, therefore, a violation of state law. The United States, in
response, maintained that because a /is pendens does not affect the owner’s legal
right to alienate his property, it is not a restraint. It again also argued that pre-
trial restraint of substitute assets is permissible under the federal statutory
scheme. After holding an evidentiary hearing, which included testimony by a
realtor on the effect of a dis pendens notice on a seller’s practical ability to
alienate his land, the court rejected Jarvis’ motion to reconsider, concluding ina
single sentence that Jarvis had not presented any new arguments regarding his
motion to release funds.

Jarvis timely appealed the district court’s denial of his motion under the
collateral order doctrine. See Musson, 802 F.2d at 385 (recognizing an exception
to the final judgment rule in a federal criminal forfeiture case where “the disputed
issues [involving the propriety of a restraining order] are collateral to and
separate from the issue of the defendants’ guilt or innocence”). On appeal, in

addition to reviving the argument that a /is pendens constitutes an unlawful

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restraint on substitute assets under § 853, Jarvis introduces a theory not presented
below regarding the nature of substitute assets in a criminal forfeiture proceeding.
Jarvis contends that, under the New Mexico lis pendens statute, a notice of fis
pendens is only proper where the underlying litigation involves a dispute
affecting title to the same real property upon which the notice has been filed. He
argues § 853(p) substitute property can never be the subject of such underlying
litigation. Rather, he argues, the United States seeks a money judgment for the
more than $158,000,000 allegedly attributable to Jarvis’ criminal activities and
that, under New Mexico law, a lis pendens cannot be used to secure a money
judgment in an action unrelated to the property upon which the lis pendens has
been placed. See Hill v. Dep’t of the Air Force, 884 F.2d 1321, 1322 (10th Cir.
1989). Jarvis alleges the district court erred when ruling on his motion by
concluding the threshold issue was whether a Jis pendens constituted a restraint
within the meaning of § 853. Instead, Jarvis argues, the court should have
considered in the first instance whether the /is pendens notices were lawful asa

matter of New Mexico state law.*

‘Jarvis also contends the lis pendens notices were facially invalid because
they referred to the Mora properties as “criminally indicted.” Although he argues
the “criminally indicted” label is a material misstatement, Jarvis does not cite any
New Mexico case law to support this point. Because Jarvis’ claim is resolved in
his favor on other grounds, we do not address the merits of this argument.

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The United States responds that Jarvis’ state law argument was forfeited by
his failure to present this theory to the district court.” On the merits, the United
States asserts the /is pendens notices were proper because title to the Mora
properties could be affected by Jarvis’ conviction and, therefore, the criminal
action against Jarvis is one affecting title to real property within the meaning of
the New Mexico fis pendens statute. As to Jarvis’ argument regarding the
prohibition on filing of a Jis pendens in anticipation of a money judgment, the
government contends Hi// is distinguishable because it involved a fis pendens
filed in anticipation of a money judgment in a civil tort suit rather than in a
criminal forfeiture proceeding.

Ii. DISCUSSION
A. Forfeiture of Argument Raised for First Time on Appeal

At no point in the proceedings below did Jarvis ever fully articulate the
theory he relies upon now, that New Mexico lis pendens notices are improperly
utilized in an in personam criminal forfeiture action where the real property itself

is not the subject of the litigation or connected to the defendant’s criminal

*The United States uses the term “waiver” to describe Jarvis’ failure to
raise the state law theory in the district court. Because there is no allegation or
support in the record that Jarvis intentionally relinquished a right to raise this
theory, the term “forfeiture” is more appropriate to describe Jarvis’ failure to
raise the theory below. See United States v. Teague, 443 F.3d 1310, 1314 (10th
Cir. 2006) (distinguishing a claim that is waived from one that is forfeited). We
therefore use the term “forfeiture” rather than “waiver” throughout this opinion to
describe the potential effect of Jarvis’ failure to present the theory below.

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activity. The United States, similarly, never addressed this argument, nor did the
court make any findings or reach any legal conclusions responsive to Jarvis’
isolated reference to this theory. This court would, therefore, ordinarily decline
to consider Jarvis’ argument under the principle that issues not presented below
are forfeited on appeal. Tele-Communications, Inc. v. Comm ’r, 104 F.3d 1229,
1233 (10th Cir. 1997) (“Propounding new arguments on appeal in an attempt to
prompt us to reverse the trial court undermines important judicial values.”).
B. Exceptions to the Forfeiture Principle

Although a litigant’s failure to raise an argument before the district court
generally results in forfeiture on appeal, forfeiture is not jurisdictional. Singleton
v. Wulff, 428 U.S. 106, 120 (1976). Whether to address the argument despite the
litigant’s failure to raise it below is subject to this court’s discretion based on the
circumstances of the individual case. Jd. For example, the Supreme Court has
indicated appellate courts might be justified in resolving an issue for the first time
on appeal “where the proper resolution is beyond any doubt or where injustice
might otherwise result.” Jd. at 121 (citation and quotation omitted). This court
has characterized iis willingness to exercise its discretion to hear issues not raised
below “only in the most unusual circumstances.” Lyons v. Jefferson Bank &
Trust, 994 F.2d 716, 721 (10th Cir. 1993). We have consistently stated that “a
party may not lose in the district court on one theory of the case, and then prevail

on appeal on a different theory.” /d.

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Nevertheless, this court has recognized an exception where the argument
involves a pure matter of law and the proper resolution of the issue is certain.
Geddes vy. United Staffing Alliance Employee Med. Plan, 469 F.3d 919, 931 (10th
Cir. 2006); United Steelworkers of Am. v. Or. Steel Mills, Inc., 322 F.3d 1222,
1227-28 (10th Cir. 2003) (considering new statutory argument for the first time
on appeal); Proctor & Gamble Coa. v. Haugen, 222 F.3d 1262, 1271 (10th Cir.
2000) (exercising discretion where district court’s error in statutory interpretation
was purely legal issue with a certain resolution); Sussman v. Patterson, 108 F.3d
1206, 1210 (10th Cir. 1997) (exercising discretion where issue not raised below
was purely legal issue, had been fully briefed by the parties, and involved
important public policy concerns); Grubb v. FDIC, 833 F.2d 222, 224 (10th Cir.
1987) (exercising discretion because issue presented only a question of law). We
have justified our decision to exercise discretion in these situations because no
additional findings of fact or presentation of evidence were required for the
issue’s disposition and both parties had the opportunity to address the issue in
their appellate briefing. See, e.g., Trierweiler v. Croxton & Trench Holding
Corp., 90 F.3d 1523, 1538 (10th Cir. 1996); Grubb, 833 F.3d at 224.

Cc. Application of the Forfeiture Exception

Under the circumstances presented here, this court determines an exercise

of our discretion is warranted to permit us to consider whether the federal

government’s use of a lis pendens was appropriate under New Mexico law. The

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issue before us is purely legal in nature and the relevant statutory language and
case law dictate a certain result.® This, therefore, is one of the unusual cases in
which it is proper to apply the forfeiture exception.

1. Pure Issue of Law

None of the traditional functions unique to a trial court are necessary to the
development of the issue Jarvis presents for the first time on appeal. The facts
are not in dispute and there is nothing the trial court could have done to facilitate
resolution of the issue. Had the trial court been given the opportunity to rule, our
review would be de novo, just as it is now. The issue presents a pure question of
law and both parties have fully briefed and argued the issue before this court.

2. Certainty of Proper Resolution

The purpose of recording a notice of Jis pendens on a piece of real property
is to provide “constructive notice to subsequent purchasers and encumbrancers of
litigation affecting the title to [the] real property.” Title Guar. & Ins. Co. v.
Campbell, 742 P.2d 8, 13 (N.M. Ct. App. 1987); S. Utsunomiya Enters., Inc. v.

Moomuku Country Club, 866 P.2d 951, 966-67 (Haw. 1994) (stating the purpose

*Singleton v. Wolff, 428 U.S. 106, 121 (1976), suggests two routes for
determining whether an appellate court is justified in resolving an issue raised for
the first time on appeal. Because we determine the resolution of the pure legal
issue before us is certain, we need not address a potential alternative rationale for
considering the issue: namely, whether injustice from an alleged violation of
Jarvis’ Sixth Amendment right to counsel would occur if this court were to
decline to address the propriety of the New Mexico /is pendens notices placed on
the Mora properties.

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of a lis pendens notice “is to provide notice of pending litigation and not to make
plaintiffs secured creditors of defendants”). In New Mexico, a fis pendens notice
is essentially “a republication of the pleadings filed in the pending judicial
proceedings.” Title Guar. & Ins. Co., 742 P.2d at 13. Under the New Mexico lis
pendens statute, a notice of lis pendens may only be recorded by plaintiffs in
“actions... affecting the title to real estate.” N.M. Stat. Ann, § 38-1-14;
Superior Constr., Inc. v. Linnerooth, 712 P.2d 1378, 1381 (N.M. 1986) (“[A]
notice of lis pendens may be properly filed only if plaintiff pleads a cause of
action which involves or affects the title to, or any interest in or a lien upon,
specifically described real property.” (emphasis added) (quotation omitted)).

To be eligible to record a dis pendens notice on a piece of real property,
however, the party recording the notice must assert a present claim to the
property’s title or have some other present interest in the subject property. See 14
Richard R. Powell, Powell on Real Property § 82A.01[2], at 6 (M. Wolfed.,
2000) [hereinafter Powell]. The notice is intended to preserve the property rights
in existence at the time the litigation commences, but does not create new or
additional property rights. Cf. id. (“[P]ublic policy [underlying a dis pendens
notice] requires that the property interests existing at the time the court action is
initiated be preserved until the court’s judgment can be enforced in favor of the
prevailing party.” (emphasis added)). In New Mexico, a lis pendens cannot be

filed in “anticipation of a money judgment.” Hill, 884 F.2d at 1322. A lis

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pendens also generally cannot be used as “a substitute for a prejudgment
attachment,” The Cadle Co. H, Inc. v. Superior Consir. & Contracting, Inc. (in re
Rice), 362 B.R. 687, 688 (Bankr. E.D. Va. 2006), or to create a constructive trust
on property to satisfy a potential monetary judgment, Flores v. Haberman, 915
S.W.2d 477, 478 (Tex. 1995).

For the United States to record a notice of /is pendens, it must establish that
the underlying action, a criminal forfeiture proceeding, is one “affecting the title
to real estate,” N.M. Stat. Ann. § 38-1-14, specifically, the Mora properties.
Criminal forfeiture is an in personam action in which the forfeiture of and the
vesting of title in the United States in the defendant’s tainted property is imposed
as a punishment against the defendant. See United States v. Nichols, 841 F.2d
1485, 1487 (10th Cir. 1988) ([C]riminal forfeiture was designed both to penalize
and to deter criminal activity.”); United States v. 339,000 in Canadian Currency,
801 F.2d 1210, 1218 (10th Cir. 1986). The government’s interest in and right to
the defendant’s property is defined in 21 U.S.C. § 853. Assets “constituting, or
derived from, any proceeds” of the defendant’s criminal action and property
“used, or intended to be used” in the commission or facilitation of the defendant’s
criminal action “shall” be forfeited upon conviction. 21 U.S.C. § 853(a}. By
virtue of the statute’s relation-back provision, the United States obtains a vested
“right, title, and interest” in such tainted § 853(a) property superior to that of

third parties “upon the commission of the act giving rise to forfeiture.” Jd.

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§ 853(c). The government, furthermore, has the ability to seek a protective order
to restrain tainted assets prior to trial in order to ensure the availability of the
tainted property in the event of the defendant’s conviction. See id. § 853(e).

In contrast, the statute treats the United States’ interest in substitute
property—property that neither comprises the fruits of nor is connected to the
defendant’s alleged crime—differently than it treats the government’s interest in
§ 853(a) tainted property. Pursuant to § 853(p), forfeiture of substitute property
cannot occur until after the defendant’s conviction and a determination by the
trial court that the defendant’s act or omission resulted in the court’s inability to
reach § 853(a) assets. See § 853(p)(1)(A)-(E); Fed. R. Crim. P. 32.2(e)(1)(B).
Both the relation-back and the protective order provisions of § 853 are silent as to
§ 853(p) substitute property. See § 853(c), (e). Unlike the pre-conviction interest
the government may claim in tainted § 853(a) property, § 853(c) thus does not
explicitly authorize the United States to claim any pre-conviction right, title, or
interest in § 853(p) substitute property.’ Furthermore, all but one federal court of
appeals to address the issue has determined the legislative silence regarding

substitute property in § 853(e) precludes pre-conviction restraint of substitute

7One court has ruled the government does have such authority despite the
lack of explicit authorization in § 853(c). See United States v. McHan, 345 F.3d
262, 270-72 (4th Cir. 2003) (concluding a broad reading of the language of
§ 853(e), which instructs that the criminal forfeiture statute should be liberally
construed to effectuate the statute’s purpose, permits the government to claim a
relation-back interest in substitute property).

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property.* The statute, therefore, imposes specific preconditions on the
government’s ability to claim title to the defendant’s substitute property,
preconditions which can only be satisfied once the defendant has been convicted.
See, e.g., United States v. Misia-Aldarondo, 478 F.3d 52, 75 (1st Cir. 2007)
(explaining forfeiture of substitute assets or the ability to reach additional assets
to satisfy a money judgment requires the government to show “the principal
forfeitable assets ... are unavailable at the end of the trial”); Unired States v.
Casey, 444 F.3d 1071, 1076—77 (9th Cir. 2006) (holding money judgment for
substitute assets may be ordered when tainted assets are insufficient to satisfy a
forfeiture order); United States v. Parrett, 469 F. Supp. 2d 489, 493 (S.D. Ohio
2007) (stating government has no “proprietary interest” in § 853(p) substitute
assets prior to judgment ordering substitute assets forfeited). As a consequence,
the United States does not have a ripened interest in § 853(p) substitute property

until (1) after the defendant’s conviction and (2) the court determines the

*The Fourth Circuit is the only federal court of appeals to conclude the
statute permits pre-trial restraint of substitute assets. See United States v.
McKinney Un re Assets of Billman), 915 F.2d 916, 921 (4th Cir. 1990) (permitting
pre-trial restraint of assets under RICO’s protective order provision). Jn re Assets
of Billman relies for support on the necessity of “liberally constru[ing]” the RICO
forfeiture provisions. 915 F.2d at 921 (quoting Russello v. United States, 464
U.S. 16, 26-27 (1983)). All other courts of appeals to consider the issue have
ruled substitute assets are not subject to pre-trial restraint. See United States v.
Gotti, 155 F.3d 144, 148-49 (2d Cir. 1998); United States v. Field, 62 F.3d 246,
248-49 (8th Cir. 1995); United States v. Ripinsky, 20 F.3d 359, 364-65 (9th Cir.
1994); In re Assets of Martin, 1 F.3d 1351, 1359-61 (3d Cir. 1993); United States
v. Floyd, 992 F.2d 498, 500—02 (Sth Cir. 1993).

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defendant’s § 853(a) forfeitable property is out of the government’s reach for a
reason enumerated in § 853(p)(1)(A)-(E).

There is no dispute the Mora properties are § 853(p) substitute property.
Jarvis obtained these properties prior to the beginning of the drug conspiracy in
which he allegedly participated; there is no allegation these properties were used
to commit or facilitate the conspiracy. Moreover, the properties are specifically
listed as substitute assets in the indictment. As a consequence, the United States
had no interest in the title to or a claim upon the Mora properties at the time of
the indictment or the recording of the lis pendens on the properties.’ The
government’s interest in the Mora properties, if any, is only a potential and
speculative future interest. Because that interest cannot mature into an actual
interest until after conviction and does not relate back to a pre-conviction date, it
cannot satisfy the prerequisites for the recording of a lis pendens. See 14 Powell
§ 82A.01[2], at 6 (stating property interest must exist at the initiation of the

underlying legal action). As a result, it cannot be said the United States has a

*Section 853(a) property might provide a different case. There may be a
credible argument that the criminal action against Jarvis would “affect title” to
the indicted § 853(a) real property because of the federal relation-back policy
articulated in § 853(c) and the ability to restrain § 853(a) assets prior to trial
pursuant to § 853(e). The same cannot, however, be true of § 853(p) substitute
property because the United States may gain title to or an interest in the Mora
properties, if at all, only (1) after a conviction and, even then, only after (2)
Jarvis’ § 853{a) forfeitable property is determined to be out of the government’s
reach for the reasons enumerated in § 853(p)(1){A)-(E).

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“cause of action which involves or affects the title to” the Mora properties.'°
Linnerooth, 712 P.2d at 1381. The United States’ filing of lis pendens notices on
the Mora properties was therefore improper under New Mexico law. Accord
United States v. Kramer, No. 1:06-cr-200, 2006 WL 3545026, at *10 (E.D.N.Y.
Dec. 8, 2006) (concluding lis pendens notice was similarly improper under New
York lis pendens statute).

In essence, the United States seeks to use the lis pendens mechanism to
preserve the substitute property in anticipation of a conviction and a
determination by the court that the § 853(a) forfeitable property is beyond the
government’s reach to satisfy the accompanying money judgment or forfeiture
order. Although the government recognizes that, under New Mexico law, “[t]he
filing of a notice of lis pendens in anticipation of a money judgment is

prohibited,” Hii/, 884 F.2d at 1322, it attempts to distinguish the scope of a so-

By way of contrast with the instant criminal forfeiture action, causes of
action in which fis pendens notices have been deemed by New Mexico courts to
“affect title to real property” include a quiet title action in which the plaintiff
recorded a Jis pendens against the disputed property, Title Guar. & Ins. Ca. v.
Campbell, 742 P.2d 8,9 (N.M. Ct. App. 1987), a breach-of-contract action
involving construction on a lot on which a /is pendens was recorded, Superior
Constr., Inc. vy. Linnerooth, 712 P.2d 1378, 1379 (N.M. 1986), and a writ of
attachment to secure priority in probate court proceeding, Bell v. Gaylord, 27 P.
494, 495 (N.M. Terr. 1891). These are, of course, all actions in which “the
pending litigation directly involves the property” and “[t]he judgment sought
[will] affect the title to the property or the right to possess, use or enjoy it.”
Richard R. Powell, Powell on Real Property § 82A.02[2], at 9 (M. Wolf ed.,
2000); cf. Ruiz v. Varan, 797 P.2d 267, 268, 269 (N.M. 1990) (holding nominal
damages are available in New Mexico for the tort of abuse of process where a /is
pendens is recorded but a “claim of title was never involved in the litigation”).

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called “general” in personam money judgment from a money judgment arising
from a criminal forfeiture action. It argues the indictment’s identification of the
specific substitute property from which a money judgment would be satisfied
permits the use of the /is pendens in this situation. The case the government
relies upon, which has nothing to do with a chain of title to substitute property,
creates a distinction between the two types of money judgments, but does so fora
reason wholly unrelated to the argument advanced here by the United States.”
See Vampire Nation, 451 F.3d at 202-03. The United States cannot convert
§ 853(p) substitute property to § 853(a) forfeitable property merely by identifying
the former in the indictment. There is, therefore, no reason the usual prohibition
on using a /is pendens in anticipation of a money judgment would not apply in
this situation.
iV. CONCLUSION

Because we determine the United States made improper use of New

Mexico’s lis pendens statute when placing lis pendens notices on Jarvis’ Mora

“In Vampire Nation, the defendant asserted the court could not issue a
forfeiture order for an in personam money judgment in an amount exceeding the
assets the defendant had on hand at the time of sentencing. United States v.
Vampire Nation, 451 F.3d 189, 201 (3d Cir. 2006). Rejecting the defendant’s
argument, the court held that the forfeiture statutes specifically authorize a money
judgment equivalent to the sum of the proceeds of the defendant’s criminal
activity, even when the defendant lacks such assets at the time of conviction. fd.
at 202-03. The court distinguished the limited nature of the money judgment
sought in a forfeiture proceeding with the unlimited nature of an in personam
money judgment arising from other types of actions. /d. at 202.

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properties, we REVERSE the order of the district court and REMAND to the

district court with direction to order the lis pendens notices removed.

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